Case 2:13-cv-00160-NT Document 66 Filed 09/10/13 Page 1 of 23                  PageID #: 1095



                           UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MAINE


JL Powell LLC and JL Powell Clothing LLC,

              Plaintiffs/Counterdefendants,

       v.
                                                        Docket No. 2:13-cv-00160-NT
Joshua L. Powell, individually and d/b/a The
Field, The Field Outfitting, and The Field
Outfitting Company,

              Defendant/Counterplaintiff.


         COUNTERPLAINTIFF JOSHUA L. POWELL’S MOTION FOR
 PRELIMINARY INJUNCTION, WITH INCORPORATED MEMORANDUM OF LAW

       Pursuant to Rule 65 of the Federal Rules of Civil Procedure, Counterplaintiff Joshua L.

Powell (“Mr. Powell”), moves the Court to enter a Preliminary Injunction against

Counterdefendants JL Powell LLC and JL Powell Clothing LLC. Mr. Powell seeks to enjoin

Counterdefendants by ordering that they refrain from further use of Mr. Powell’s name,

endorsement, or signature to suggest that Mr. Powell is a personal spokesperson, promoter, or

endorser of J.L. Powell. The grounds for this relief are set forth in the memorandum below.
Case 2:13-cv-00160-NT Document 66 Filed 09/10/13 Page 2 of 23                    PageID #: 1096



                                  MEMORANDUM OF LAW

       The facts supporting Mr. Powell’s requests for preliminary injunctive relief are set forth

below and in the accompanying Declaration of Joshua L. Powell. (Ex. 1) In summary, this

motion arises from (i) the Counterdefendants’ disregard of Mr. Powell’s July 11, 2013 letter

notifying Counterdefendants that they may no longer use his publicity rights (“Termination

Notice”) and (ii) Counterdefendant JL Powell Clothing LLC’s improper use of Mr. Powell’s

publicity rights by fabricating a false personal message from Mr. Powell in the most recent JL

Powell catalog.

       As the Court may recall, Mr. Willard, Chairman of JL Powell LLC and JL Powell

Clothing LLC, testified that Counterdefendants discontinued any past use of Mr. Powell’s

personal messages in its catalog “post-Josh” (i.e. after Mr. Powell left the company). (June 13,

2013 Hrg. Tr. at 205:8-13, 206:22-207:15) Following the last hearing, on July 11, 2013, Mr.

Powell, through his counsel, sent the Termination Notice to Mr. Willard’s attention making it

abundantly clear that the rights granted under Section 7.1(b) of the Contribution Agreement were

terminated. Mr. Powell also advised that “continued use of any of the rights granted under

Section 7.1(b) shall be considered a violation of Mr. Powell’s publicity and/or privacy rights.”

       After receiving the Termination Notice, Counterdefendants not only reinstated their past

practice of using Mr. Powell’s publicity rights, but did so in an incredibly false and misleading

manner. Specifically, JL Powell Clothing LLC issued its “Fall 2013” catalog containing a new

personal message that purports to be written by Mr. Powell to JL Powell’s customers. As set

forth below, the personal message begins with “For me, 50 miles an hour is the perfect speed

…,” discusses articles of clothing that “we design,” and ends with Mr. Powell’s distinctive,

handwritten signature:



                                                 1
Case 2:13-cv-00160-NT Document 66 Filed 09/10/13 Page 3 of 23                   PageID #: 1097




As set forth in the Declaration of Joshua L. Powell, he neither authored or approved this

message, and he did not approve or participate in the design of JL Powell’s clothing.

       JL Powell Clothing LLC, a company that was impermissibly assigned Mr. Powell’s

publicity rights without his consent, apparently believes that Mr. Powell’s Termination Notice is

a nullity, and that it can forever force Mr. Powell to be an unpaid, indentured servant of the

company – in violation of the Thirteenth Amendment – by ascribing his signature to personal

messages that he neither authored nor approved, for the benefit of JL Powell and to the detriment

of Mr. Powell. Accordingly, Counterdefendants, individually and jointly, are attempting to

mislead the public into believing that Mr. Powell is the primary spokesperson, promoter, co-

designer, and endorser for JL Powell, a company that directly competes with Mr. Powell’s own

company, the Field.



                                                2
Case 2:13-cv-00160-NT Document 66 Filed 09/10/13 Page 4 of 23                   PageID #: 1098



                                        BACKGROUND

A.     Blue Highway’s Equity Investment In JL Powell

       Counterdefendants erroneously assert in this action that Mr. Powell “sold” his “naming

rights” for “consideration” in connection with “an acquisition and merger transaction.” (See Pls.’

Mem. in Opp’n to Def.’s Mot. for Leave to Suppl. R. on Pls.’ Mot. for Prelim. Inj. at 1 (ECF No.

64)) Nothing could be further from the truth. There was no “acquisition and merger transaction”

giving rise to the Contribution Agreement, and Mr. Powell did not “sell” his naming rights – or

anything else – to Counterdefendants. As set forth below, Mr. Powell granted a gratuitous

license to use his publicity rights in connection with an equity investment.

       The Contribution Agreement reflects a contribution of capital made by an investor named

Blue Highways Holdings LLC (“Blue Highways”). (See Powell Decl. ¶ 4) Blue Highways, a

sophisticated investor, wished to invest capital in Mr. Powell’s company JL Powell Inc., which it

valued at $4.3 million. (Powell Decl. ¶ 2) Instead of investing directly in Mr. Powell’s existing

company, Blue Highways “contributed” $2.5 million to a new entity, JL Powell LLC, in

exchange for a 57% “Class A” interest in JL Powell LLC, and JL Powell Inc. transferred all its

assets to the new entity in exchange for a 43% “Class B” interest in JL Powell LLC. (Powell

Decl. ¶ 4) Mr. Powell, the founder of JL Powell, was not paid any portion of the contribution

capital paid under the Contribution Agreement. (Powell Decl. ¶ 4)

B.     Mr. Powell’s Grant Under The Contribution Agreement

       Mr. Powell was not a named party to the Contribution Agreement between Blue

Highways and JL Powell Inc. (Powell Decl. ¶ 5) Mr. Powell, however, did sign the Contribution

Agreement in a limited capacity as to Section 7.1(b). (Id.) In Section 7.1(b), Mr. Powell

personally agreed to grant JL Powell LLC the exclusive right, license and permission to use his

name and endorsement:

                                                 3
Case 2:13-cv-00160-NT Document 66 Filed 09/10/13 Page 5 of 23                                 PageID #: 1099



        In connection with this Agreement and the transfer and assignment by [JL Powell
        Inc.] of all [JL Powell Inc.’s intellectual property] to [JL Powell LLC], Joshua L.
        Powell (the “Founder”) hereby grants to [JL Powell LLC] throughout the world
        the sole and exclusive right, license, and permission to use his name and
        endorsement to exploit, turn to account, advertise, and otherwise profit from [JL
        Powell LLC’s] goods and services bearing such name, image, and/or
        endorsement. The grant made hereunder shall be exclusive to [JL Powell LLC],
        and the Founder agrees that he shall not, on behalf of himself or any other person
        or entity, grant any similar right of any kind in connection with any business
        competitive in any respect with [JL Powell LLC] or any of its affiliates and/or
        subsidiaries.

(Id.) As set forth above, Section 7.1(b) does not expressly state that the grant is perpetual or

irrevocable, and there is no defined term for the grant. (See id.) Again, Counterdefendants did

not pay Mr. Powell any money or any other consideration in connection with the grant in

Section 7.1(b). (Powell Decl. ¶ 7)

C.      JL Powell LLC Assigns Mr. Powell’s Grant Without His Consent and the Consent
        of His Company.

        After Mr. Powell was fired from JL Powell LLC, the Board members of JL Powell LLC

(who were all members of Blue Highways) agreed to transfer all of the company’s assets to

Plaintiff JL Powell Clothing LLC, a new entity created by Blue Highways, in satisfaction of a

loan made by Blue Highways to JL Powell LLC of approximately $1.4 million.1 (Powell Decl.

¶ 17) Again, no money was paid to Mr. Powell in connection with this transfer. (Id.) JL

Powell LLC assigned its rights under the Contribution Agreement to JL Powell Clothing LLC,

including Mr. Powell’s grant in Section 7.1(b), without the written consent of Mr. Powell’s

company, JL Powell Inc. (Powell Decl. ¶ 18) Because the grant included obligations personal to

Mr. Powell, the assignment also required Mr. Powell’s consent.




        1
            In other words, Blue Highway’s members effectuated a transfer of a business they valued at $4.3 million
to satisfy a loan of $1.4 million.

                                                        4
Case 2:13-cv-00160-NT Document 66 Filed 09/10/13 Page 6 of 23                    PageID #: 1100



D.     Mr. Powell Sends a Termination Notice to JL Powell LLC

       On July 11, 2013, Mr. Powell sent the Termination Notice to JL Powell LLC c/o Blue

Highway (as required under the notice provisions of the Contribution Agreement), attention

Bruce Willard, notifying the parties that he was terminating the grant in Section 7.1(b) of the

Contribution Agreement. (Powell Decl. ¶ 19)

       The Termination Notice explained that any grant in Section 7.1(b) of the Contribution

Agreement was superseded by the subsequent Employment Agreement, Amended and Restated

Employment Agreement, and Separation Agreement entered into by Mr. Powell and JL Powell

LLC in 2010, 2011 and 2012, respectfully, and advised the parties that the publicity rights he

granted personally under Section 7.1(b) were assigned without Mr. Powell’s consent. (Powell

Decl. ¶ 20) The Termination Notice also noted that the Counterdefendants had ceased to use any

reference to Mr. Powell’s name, image, or likeness in the J.L. Powell catalog. (Id.) But in an

abundance of caution, Mr. Powell sent the Termination Notice as “written notice of termination

of Section 7.1(b) of the Contribution Agreement.” (Id. (emphasis in original))

       The Termination Notice indicated that the grant in Section 7.1(b) was terminable at will

because it did not specify a fixed term of duration. (Id.) The Termination Notice also indicated

that any “continued use of any of the rights granted under Section 7.1(b) shall be considered a

violation of Mr. Powell’s publicity and/or privacy rights.” (Id.)

E.     JL Powell Clothing LLC’s Unauthorized Use of Mr. Powell’s Endorsement

       After being put on notice of Mr. Powell’s unequivocal termination of any rights granted

to it, JL Powell Clothing LLC continued to use Mr. Powell’s personal endorsement in its

catalogs. For example, on August 26, 2013, Mr. Powell discovered that the Fall 2013 JL Powell

catalog includes a personal message with Mr. Powell’s signature below it. (Powell Decl. ¶ 21)

The message is reproduced below:

                                                 5
Case 2:13-cv-00160-NT Document 66 Filed 09/10/13 Page 7 of 23                       PageID #: 1101




(Id.) The personal message begins with “For me, 50 miles an hour is a perfect speed …,”

discusses pieces of clothing that “we design,” and ends with Mr. Powell’s distinctive,

handwritten signature. (Powell Decl. ¶ 21) Mr. Powell did not authorize JL Powell Clothing

LLC to use his signature in the catalog. (Powell Decl. ¶ 22) Mr. Powell did not author the

message, nor did he authorize the use of his name or signature. (Id.) More importantly, Mr.

Powell did not participate in “designing” the clothing in the Fall 2013 Catalog. (Id.) On

information and belief, JL Powell Clothing LLC printed and mailed the catalog after Mr. Powell

sent the Termination Notice. (Id.)

                                      LEGAL STANDARD

       A district court may grant a preliminary injunction “when it concludes that the plaintiff

has demonstrated (1) that it will suffer irreparable injury if the injunction is not granted; (2) that


                                                  6
Case 2:13-cv-00160-NT Document 66 Filed 09/10/13 Page 8 of 23                    PageID #: 1102



any such injury outweighs any harm which granting the injunction would cause the defendant;

(3) a likelihood of success on the merits; and (4) that the public interest will not be adversely

affected by the granting of the injunction.” Equine Technologies, Inc. v. Equitechnology, Inc., 68

F.3d 542, 544 (1st Cir. 1995).

                                         ARGUMENT

       Mr. Powell is entitled to preliminary injunctive relief because Counterdefendants have no

present right to Mr. Powell’s publicity rights. Mr. Powell seeks an injunction ordering that

Counterdefendants refrain from using Mr. Powell’s name, endorsement, or signature to suggest

that Mr. Powell is employed by J.L. Powell, designing clothing for J.L. Powell, or acting as a

spokesperson for J.L. Powell.

I.     Mr. Powell Will Suffer Irreparable Harm If An Injunction Is Not Granted.

       The likelihood that “consumers will be confused as to a product’s source or sponsorship

provides a ‘potent basis for a finding of irremediable injury.’” TEC Eng’g Corp. v. Budget

Molders Supply, Inc., 927 F. Supp. 528, 535 (D. Mass. 1996) (quoting Hypertherm, Inc. v.

Precision Products, Inc., 832 F.2d 697, 699-700 (1st Cir. 1987)); see also Church of Scientology

Int’l v. Elmira Mission of the Church of Scientology, 794 F.2d 38, 41 (2d Cir. 1986)

(“[E]stablishing a high probability of confusion as to sponsorship almost inevitably establishes

irreparable harm.”). “When in the licensing context unlawful use and consumer confusion have

been demonstrated, a finding of irreparable harm is automatic.” Id. at 42.

       Counterdefendants’ wrongful acts have created the false impression that Mr. Powell

continues to be affiliated with and personally endorses the Counterdefendants’ catalog business,

and even participates in the design of their clothing. Their use of the first person (“me”), use of

the term “we,” and the use of Mr. Powell’s distinctive, handwritten signature constitute a false

endorsement because Mr. Powell never spoke or wrote the words attributed to him in the J.L.

                                                7
Case 2:13-cv-00160-NT Document 66 Filed 09/10/13 Page 9 of 23                       PageID #: 1103



Powell catalog. Counterdefendants’ unauthorized use of Mr. Powell’s name and endorsement

falsely suggests that Mr. Powell is still employed by J.L. Powell, participates in the design of its

clothing, and is speaking on behalf of the company. (See Powell Decl. ¶ 23)

       Mr. Powell is irreparably harmed by the Counterdefendants’ wrongful acts.                  His

company, The Field, directly competes with J.L. Powell. By falsely suggesting that Mr. Powell

endorses and participates in the design of their competing products, Counterdefendants are

confusing the public. Mr. Powell’s reputation is irreparably harmed by the improper application

of his endorsement and signature to personal messages he did not write or approve. (Powell

Decl. ¶ 26)      Further, his new business, The Field, is irreparably harmed by the

Counterdefendants’ actions, which falsely associate Mr. Powell with his old company, rather

than his new company. (See Powell Decl. ¶¶ 25-26)

       Indeed, as Counterdefendants pointed out in the Amended Complaint, while Mr. Powell

was still associated with the company, the J.L. Powell catalog often “offered personal messages

from [Mr. Powell] to its customers, many of which were followed by his signature.” (Am.

Compl. ¶ 11 (ECF No. 39)) By continuing to use Mr. Powell’s signature following what appears

to be a personal message from Mr. Powell, Counterdefendants are attempting to create the

impression that Mr. Powell has not left the company and is still writing personal messages to

customers, is still participating in the selection and design of their clothing products, and is still

endorsing the company.       In fact, Mr. Powell has already received calls and e-mails from

recipients of the newest J.L. Powell catalog who have been misled into believing that Mr. Powell

had authored and signed the personal note in the catalog. (Powell Decl. ¶ 24) These e-mails and

calls demonstrate that customers are already being confused by Counterdefendants’ misleading

use of Mr. Powell’s signature and the intentional similarity between the new, false message and



                                                  8
Case 2:13-cv-00160-NT Document 66 Filed 09/10/13 Page 10 of 23                             PageID #: 1104



the real messages from Mr. Powell previously included in the J.L. Powell catalog.

Counterdefendants’ continued use of Mr. Powell’s identical signature in manner which identifies

Mr. Powell as an individual misleads the public and creates confusion, to the detriment of Mr.

Powell’s reputation and to the detriment of his new company.

II.     The Continuing Injury To Mr. Powell In The Absence Of The Requested
        Injunction Outweighs Any Injury To The Counterdefendants From The
        Entry Of An Injunction.

        In the reverse situation, where the Counterdefendants asserted that Mr. Powell’s catalog

contained allegedly infringing material, Counterdefendants contended that Mr. Powell would

suffer “little or no injury” if the Court barred Mr. Powell from distributing the allegedly

infringing catalogs and quarantining all remaining copies of the catalogs. (Pl.’s Mot. for TRO &

Prelim. Inj. with Incorporated Mem. of Law at 17 (ECF No. 3)) It would be disingenuous for

them to now claim a heavy burden from essentially identical relief, particularly given the relative

size and wealth of the parties. (See Powell Decl. ¶¶ 1, 3) Moreover, Counterdefendants have

demonstrated that they do not need to use Mr. Powell’s endorsement or signature in their

catalogs, as they discontinued use of Mr. Powell’s image and signature shortly after he was

terminated from the company.

III.    Mr. Powell Will Likely Succeed On The Merits.

        Mr. Powell is likely to prevail for at least three reasons. First, the grants and restrictions

in Section 7.1(b), which involve personal services by and the personal publicity rights of Mr.

Powell, were not assignable without the consent of both Mr. Powell and his company. Second,

Mr. Powell’s obligations in Section 7.1(b) were superseded by the Separation Agreement.2



        2
         The attendant restrictions in Section 7.1(b) were also superseded by the Employment Agreement,
Amended and Restated Employment Agreement, and Separation Agreement entered into by Mr. Powell and JL
Powell LLC. Mr. Powell in no way abandons this position by focusing solely on the grants under Section 7.1(b).

                                                      9
Case 2:13-cv-00160-NT Document 66 Filed 09/10/13 Page 11 of 23                   PageID #: 1105



Third, to the extent any publicity rights still existed, Mr. Powell unequivocally terminated any

such rights with the Termination Notice.

       There can be no circumstances where Mr. Powell is forever required to personally

endorse and promote a company for which he no longer works, particularly where he is not

provided any compensation, and allow a company to create personal messages from him that he

did not author or approve.     For the Court to hold otherwise would place Mr. Powell in

involuntary servitude, in violation of the Thirteenth Amendment. See, e.g., Gov’t Guarantee

Fund of Repub. of Finland v. Hyatt Corp, 95 F.3d 291, 303 (3d Cir. 1996) (noting that “courts

are loathe to order specific performance of personal services contracts” because to do so “would

… run contrary to the Thirteenth Amendment’s prohibition against involuntary servitude”); Read

v. Wilmington Senior Ctr., Inc., No. C.A. 12586, 1992 WL 296870, at *1 (Del. Ch. Sept. 16,

1992) (“[C]ourts of equity historically have refused to order an individual to perform a contract

for personal services [and] will not, under the guise of awarding specific performance, compel

involuntary servitude....”); see also Calamari & Perillo, Contracts § 16–5 at 666 (3d ed. 1987)

(citing People v. Lavender, 48 N.Y.2d 334, 422 N.Y.S.2d 924, 398 N.E.2d 530 (1979)).

       Moreover, underlying the nondelegable nature of these contracts is the notion that courts

will refuse to order specific performance where it would be inherently difficult to do so. In re

Noonan, 17 B.R. 793, 798 (Bankr. S.D.N.Y. 1982) (citing De Rivafinoli v. Corsetti, 4 Paige Ch.

263, 270 (N.Y. Ch. 1833) (disagreeing with the adage that “a bird that can sing and will not sing,

must be made to sing”)).

       A.      Mr. Powell’s Publicity Rights Are Not Freely Assignable.

       Under Delaware law, contracts involving “obligations of a personal nature” generally

cannot be assigned. FinanceAmerica Private Brands, Inc. v. Harvey E. Hall, Inc., 380 A.2d

1377, 1380 (Del. Super. 1977); see also 29 Williston on Contracts § 74:10 (4th ed.) (noting the

                                               10
Case 2:13-cv-00160-NT Document 66 Filed 09/10/13 Page 12 of 23                   PageID #: 1106



general rule that “contract[s] involv[ing] obligations of a personal nature” may not be assigned).

Section 7.1(b) involves obligations of a personal nature. As in past issues of the J.L. Powell

Catalog, which are set forth in the record, it permitted JL Powell LLC to use Mr. Powell’s name

and personal endorsement, including personal messages from Mr. Powell himself. Section 7.1(b)

also contained personal restrictions on Mr. Powell’s ability to use his name in connection with

competing businesses.

       Counterdefendants cannot credibly assert otherwise. This is particularly so where JL

Powell Clothing LLC recently used Section 7.1(b) to create a “personal” message bearing Mr.

Powell’s handwritten signature and discussing the clothing that he purportedly “designs” with

the company. Because Counterdefendants assert that they can forever make Mr. Powell an

involuntary spokesperson and promoter of JL Powell, and simultaneously restrict him from

promoting any competing business, they cannot characterize Section 7.1(b) as anything other

than containing obligations of a personal nature.

       Counterdefendants assert that Mr. Powell’s company, JL Powell Inc. signed a “Bill of

Sale” that permitted JL Powell LLC the unfettered right to transfer of Mr. Powell’s rights under

the Contribution Agreement. This assertion is grossly misplaced for three reasons. First, the

Contribution expressly states that the rights under the Contribution Agreement may not be

assigned without the consent of Mr. Powell’s company, JL Powell Inc. (Contribution Agreement

§ 12.8) Second, because the rights were granted by Mr. Powell personally, and involve his

personal endorsement, his individual consent was also required. Third, Counterdefendants are

misstating the Bill of Sale. The Bill of Sale states only that JL Powell LLC “may assign (without

consent) any of its rights under the Bill of Sale,” not the Contribution Agreement. The Bill of

Sale itself does not address or even mention the rights and restrictions granted by Mr. Powell.



                                                11
Case 2:13-cv-00160-NT Document 66 Filed 09/10/13 Page 13 of 23                       PageID #: 1107



As such, JL Powell LLC’s unilateral ability to assign its rights under the “Bill of Sale” is

irrelevant to whether it could assign the personal obligations of Mr. Powell under an entirely

different agreement.

       Nor can Counterdefendants claim that Section 7.1(b) did not require assignment to JL

Powell Clothing LLC because the provision includes “affiliates.” First, the grant of Mr. Powell’s

publicity rights does not expressly extend to any affiliates. Second, the term “affiliates” set forth

in the restrictive covenant does not expressly include “future” affiliates. As set forth above, the

Separation Agreement between JL Powell LLC and Mr. Powell includes express references to

“past, present and future” parties, while the term “affiliates” in Section 7.1(b) of the Contribution

Agreement does not. Under the standard canon of contract construction expressio unius est

exclusio alterius, that is, that the expression of one thing implies the exclusion of the other,

potential future affiliates are excluded from the definition of affiliates in Section 7.1(b). “Absent

explicit language demonstrating the parties’ intent to bind future affiliates of the contracting

parties, the term ‘affiliate’ includes only those affiliates in existence at the time that the contract

was executed.” Ellington v. EMI Mills Music, Inc., 959 N.Y.S.2d 88 (N.Y. Sup. Ct. 2011); see

also VKK Corp. v. National Football League, 244 F.3d 114, 130-31 (2d Cir. 2001) (“The NFL

and its member clubs are sophisticated commercial actors who could have specifically referred to

future member clubs had they intended to include them in the Release. The Release refers to

‘past, present, and future ... Releasors’ but makes no mention of future ‘Releasees,’ leading us to

conclude that the parties to the Release did not intend to include future member clubs.”); see also

Seidensticker v. Gasparillia Inn, Inc., No. 2555-CC, 2007 WL 4054473, at *3 (Del. Ch. Nov. 8,

2007) (applying expressio unius to exclude successors because one section of contract referred to




                                                  12
Case 2:13-cv-00160-NT Document 66 Filed 09/10/13 Page 14 of 23                    PageID #: 1108



“Seidensticker, or his ... personal representative or successor” and another section referred to

“Seidensticker” alone).

       B.      JL Powell LLC’s Right To Mr. Powell’s Publicity And Endorsement Rights
               Was Superseded By The Separation Agreement.

       On April 2, 2012, JL Powell LLC terminated Mr. Powell’s employment. In connection

with the termination of his employment and in exchange for receiving severance payments from

JL Powell LLC, Mr. Powell entered into a Separation Agreement and Release with JL Powell

LLC dated April 2, 2012 (the “Separation Agreement”). The Separation Agreement states that

Mr. Powell “is no longer an officer, employee or agent of the Company, “may not act on behalf

of the Company,” and “may not bind the Company.” Section 6(f) of the Separation Agreement

states: “[Mr. Powell] acknowledges that the making, execution and delivery of this Release has

been induced by no promises, representations, statements, warranties or agreements other than

those expressed herein. [Mr. Powell] understands it supersedes all prior discussions and

agreements between the Executive and the Company or any representative or affiliate of the

Company, whether oral or in writing.” Pursuant to Paragraph 16, the Separation Agreement

supersedes all prior written agreements between the parties with respect to its subject matter.

       Under the terms of the Separation Agreement, JL Powell LLC understood that as of April

2, 2013, Mr. Powell had no further obligations to act as an “agent” for JL Powell LLC or act “on

behalf of” JL Powell LLC. The Separation Agreement does not preserve the provision the

Contribution Agreement requiring Mr. Powell to continue to promote and act as a “co-designer”

for JL Powell LLC. Thus, Section 7.1(b) was superseded by the Separation Agreement.

       C.      Section 7.1(b) Was Properly Terminated.

       It is undisputed that Section 7.1(b) has no stated duration. As such, it is terminable at

will. “Contracts for an indefinite period are terminable at will by either party upon giving


                                                13
Case 2:13-cv-00160-NT Document 66 Filed 09/10/13 Page 15 of 23                        PageID #: 1109



reasonable notice to the other party.” 17A Am. Jur. 2d Contracts § 466 (updated Aug. 2013); see

also 17B C.J.S. Contracts § 602 (updated 2013) (“An agreement without a fixed term of duration

generally is terminable at the will of either contracting party.... If there is nothing in the nature or

the language of a contract for an indefinite period to indicate that it is perpetual, the courts will

interpret the contract to be terminable at will.”); 1 Williston on Contracts § 4:22 (4th ed. updated

2013) (“[A] promise contemplating continuing performance for an indefinite time is to be

interpreted as stipulating only for performance terminable at the will of either party.”); 5-24

Corbin on Contracts § 24.29 (updated 2013) (“In a large proportion of cases, when the parties did

not specify the duration of their contracts, the courts have concluded that these contracts should

be terminable at the will of either party, often upon reasonable notice.”).

        “Delaware appears to follow that general law.” Del. Fin. Mgmt. Corp. v. Vickers, No.

Civ. A. 96C-10-032, 1999 WL 458633, at *7 (Del. Super. June 9, 1999). Several Delaware

courts in a variety of contexts have held that contracts without a fixed term of duration are

terminable at the will of either party. See, e.g., id. at *7 (applying this “general law” to services

contract); A.R. Dervaes Co. v. Houdaille Indus., Inc., 1981 WL 7625, 7 Del. J. Corp. L. 173,

179-80 (Del. Ch. Sept. 29, 1981) (applying this “accepted judicial approach” to franchise

distributorship contract). Mr. Powell has found no Delaware case repudiating the well-settled

rule that a contract without a fixed term is terminable at will by either party. This is particularly

true where, as here, the agreement is for personal obligations. N. Del. Indus. Dev. Corp. v. E. W.

Bliss Co., 245 A.2d 431, 433 (Del. Ch. 1968) (recognizing that “performance of a contract for

personal services, even of a unique nature, will not be affirmatively and directly enforced”).

        Likewise, courts across the country hold that agreements conferring a license to use an

intellectual property right such as a name or a trademark without a stated duration are



                                                  14
Case 2:13-cv-00160-NT Document 66 Filed 09/10/13 Page 16 of 23                                    PageID #: 1110



terminable-at-will by the licensor. See Trace Minerals Research, L.C. v. Mineral Resources Int’l,

Inc., 505 F. Supp. 2d 1233, 1241 (D. Utah. 2007) (“A license containing no time frame is

generally terminable at will.”); Bunn-O-Matic Corp. v. Bunn Coffee Serv., Inc., 88 F. Supp. 2d

914, 922 (C.D. Ill. 2000) (same); Dial-A-Mattress Operating Corp. v. Mattress Madness, Inc.,

847 F. Supp. 18, 19-20 & n.1 (E.D.N.Y. 1994) (“An agreement conferring a license to use a

trademark for an indefinite time, whether oral, written or by implication, is terminable-at-will by

the licensor.”) (citing Corbin on Contracts § 96); see also Butkus v. Downtown Athletic Club of

Orlando, Inc., No. CV 07-2507, 2008 WL 2557427, at *6 (C.D. Cal. 2008) (suggesting that

celebrity athlete had right to terminate at will license to use his name on award, but declining to

decide the issue because of factual disputes regarding scope of license). Because the intellectual

property rights licensed in Section 7.1(b) do not contain a term of duration, they were terminable

at will by Mr. Powell and he terminated them with the Termination Notice. Thus,

Counterdefendants have no right to continue to use Mr. Powell’s signature and endorsement

under the Contribution Agreement or otherwise.

         Counterdefendants attempt to distinguish these cases, but begrudgingly concede that a

gratuitous license for no consideration is terminable at will. (ECF No. 64 at 6, 8 (citing Dial-A-

Mattress, 847 F. Supp. 2d at 19; Butkus, 2008 WL 2557427, at *6)                                       Despite the

Counterdefendants’ bald assertions, they fail to identify any consideration Mr. Powell received

for the personal rights and restrictions he provided in the Contribution Agreement.3 This is not

surprising, because no such consideration is stated in the Contribution Agreement. Indeed, in the

end, Mr. Powell did not receive a red cent for his company. (Powell Decl. ¶¶ 4, 7, 17) Moreover,

under Delaware law, “When consideration is lacking, there was never a contract at all.” Haft v.

         3
           Indeed, Mr. Powell signed the Contribution Agreement in his personal capacity “solely for purposes of
Section 7.1(b)” and that Section does not grant Mr. Powell any consideration for the use of his publicity rights or
refer to any other Section of the Contribution Agreement that does.

                                                         15
Case 2:13-cv-00160-NT Document 66 Filed 09/10/13 Page 17 of 23                    PageID #: 1111



Dart Grp. Corp., 841 F. Supp. 549, 573 (D. Del. 1993) (citing Hensel v. U.S. Elecs. Corp., 262

A.2d 648, 651 (Del. 1970)); see also Dun & Bradstreet Software Servs. v. Grace Consulting,

Inc., 307 F.3d 197, 220 (3d Cir. 2002) (holding that confidentiality agreement was not

enforceable because the plain language of the agreement was silent as to consideration given in

return for confidentiality obligation). Thus, not only is Section 7.1(b) terminable at will, it was

never enforceable to begin with.

       In addition, Mr. Powell had the right to terminate Section 7.1(b) because JL Powell LLC

materially breached the Contribution Agreement when it improperly attempted to assign its

rights to JL Powell Clothing LLC. “[A] material breach of a licensing agreement gives rise to a

right of rescission which allows the nonbreaching party to terminate the agreement.” Rano v.

Sipa Press, Inc. 987 F.2d 580, 586 (9th Cir. 1993).

       Further, the Counterdefendants abandoned these publicity rights when they ceased to use

messages from Mr. Powell, images of Mr. Powell, and his signature in the J.L. Powell catalog.

Under Delaware law, “a contract remains in force until and unless it has been terminated

according to its terms or by actions of the parties. Abandonment, however, may constitute one

of those actions.” Haft v. Dart Grp. Corp., 841 F. Supp. 549, 572 (D. Del. 1993) (citing Artesian

Water Co. v. State Dep’t of Highways & Transp., 330 A.2d 441, 443 (Del. 1974)).

       Finally, the Counterdefendants’ wrongful use of Mr. Powell’s signature to suggest that

the new personal message was written and signed by Mr. Powell exceeds the scope of the

publicity rights that the Counterdefendants once had.         The personal message wrongfully

attributed to Mr. Powell goes far beyond just his name and endorsement, instead creating a false

association between Mr. Powell and J.L. Powell by suggesting that he is he is designing clothing

for the J.L. Powell catalog and that he approves of the clothing and other items in the catalog.



                                                16
Case 2:13-cv-00160-NT Document 66 Filed 09/10/13 Page 18 of 23                                        PageID #: 1112



Even if Section 7.1(b) had not been superseded or terminated, it did not give the

Counterdefendants the right to fabricate a personal message that suggests that Mr. Powell is still

designing and approving clothing for the J.L. Powell catalog and falsely attribute that message to

Mr. Powell.

         D.       JL Powell Clothing LLC’s Appropriation Of Mr. Powell’s Name And
                  Endorsement Without Mr. Powell’s Permission Violates Mr. Powell’s Right
                  Of Publicity.

         Under Michigan law4, an individual establishes a violation of a right of publicity upon

demonstrating: (1) a pecuniary interest in his identity, and (2) that his identity has been

commercially exploited by the defendant. Parks v. LaFace Records, 329 F.3d 437, 460 (6th Cir.

2003) (holding that Rosa Parks satisfied both prongs of the test because she had used her name in

the past for promotional purposes, and because music group Outkast used her name to sell

records).

         First, Mr. Powell is able to establish a pecuniary interest in his identity because he has

used his identity in the past for promotional purposes. In fact, JL Powell Clothing LLC admits in

pleadings already made of record with this Court that Mr. Powell “served as the sole model for

[the former] catalog” and “[t]he catalog also offered personal messages to customers from

Defendant Powell, many of which were followed by his ‘J.L. Powell’ signature.” (See Willard

Decl. ¶ 4 (ECF No. 3-1)) Moreover, the defendant’s act of misappropriating the plaintiff’s

identify is sufficient evidence of its commercial value. Hauf v. Life Extension Found., 547 F.

Supp. 2d 771, 778 (W.D. Mich. 2008) (noting that plaintiff need not be a celebrity to assert the

right of publicity claim).


         4
            Choice of law theory in right of publicity cases is an unsettled area of law, but courts often agree that the
state of residence or domicile of the individual asserting the right presents a proper choice for governing law. See
generally Bi-Rite Enters., Inc. v. Bruce Miner Co., 757 F.2d 440 (1st Cir. 1985); McCarthy’s The Rights of
Publicity and Privacy § 11:8. Mr. Powell currently resides in Michigan.

                                                           17
Case 2:13-cv-00160-NT Document 66 Filed 09/10/13 Page 19 of 23                      PageID #: 1113



       The second prong is satisfied because Mr. Powell’s identity is now being commercially

exploited by JL Powell Clothing LLC through the personal message in the J.L. Powell Fall 2013

catalog which has been fabricated to appear as if written and signed by Mr. Powell. (Powell

Decl. ¶¶ 21-22) This unauthorized use of Mr. Powell’s name and endorsement falsely suggests

that he is still employed by J.L. Powell, that he participates in the design of its clothing, and that

he is actively promoting the company. (Powell Decl. ¶ 23) The wrongful misappropriation of

Mr. Powell’s identity in the foregoing manner is precisely the type of conduct that should be

enjoined under Michigan law. See, e.g., Andretti v. Borla Performance Indus., Inc., 426 F.3d

824, 827 (6th Cir. 2005) (preliminary injunction entered where defendant used, without

Andretti’s permission, a quote from Andretti praising defendant’s product).

       E.      JL Powell Clothing LLC’s Misleading Appropriation Of Mr. Powell’s Name
               And Endorsement Constitutes False Endorsement Under Section 43(a) Of
               The Lanham Act.

       Section 43(a) of the Lanham Act provides in pertinent part that “[a]ny person who, on or

in connection with any goods or services ... uses in commerce ... any ... false or misleading

representation of fact, which – (A) is likely to cause confusion, or to cause mistake, or to deceive

as to the affiliation, connection, or association of such person with another person, or as to the

origin, sponsorship, or approval of his or her goods, services, or commercial activities by another

person ... shall be liable in a civil action by any person who believes that he or she is or is likely

to be damaged by such act.” 15 U.S.C. § 1125(a)(1). Courts have readily recognized false

endorsement or association claims under § 43(a) of the Lanham Act where a celebrity’s image or

persona is used in association with a product so as to imply that the celebrity endorses the

product. ETW Corp. v. Jireh Pub., Inc., 332 F.3d 915, 925-926 (6th Cir. 2003). However, the

plaintiff need not prove celebrity to maintain this claim, as false endorsement occurs when an



                                                 18
Case 2:13-cv-00160-NT Document 66 Filed 09/10/13 Page 20 of 23                     PageID #: 1114



individual’s identity is used in connection with a product or service in such a way that consumers

are likely to be misled about the individual’s sponsorship or approval of the product or service.

Id.; see also Hauf, 547 F. Supp. 2d at 777 (noting that plaintiff under a 43(a) claim for false

endorsement need not be a celebrity).

       As discussed above, the commercial value of Mr. Powell’s identity is admitted by JL

Powell Clothing LLC. JL Powell Clothing LLC willfully used the commercial value of Mr.

Powell’s identity, by appropriating Mr. Powell’s name and endorsement, to falsely suggest that

Mr. Powell is still employed by J.L. Powell, that he participates in the design of its clothing, and

that he is actively promoting the company. Because the message in the catalog is completely

fabricated and presented in a manner to suggest that Mr. Powell wrote and signed it, one must

presume that consumers will actually be confused into believing that Mr. Powell authored the

message and that he was speaking on behalf of JL Powell Clothing LLC and its products when

he did so. (Powell Decl. ¶¶ 21-22) In fact, Mr. Powell has already received phone calls and e-

mails demonstrating such confusion. (Powell Decl. ¶ 24)          In addition, because it is being

misrepresented to the public that Mr. Powel co-designs and approves JL Powell Clothing LLC’s

products, he is in jeopardy of losing investors in his competing business, which operates under

The Field brand. (Powell Decl. ¶ 25)

       JL Powell Clothing LLC cannot defend its use of Mr. Powell’s name and endorsement

complained of herein as a legitimate exercise of its asserted trademarks. Rather than making a

trademark use, JL Powell Clothing LLC’s use identities Mr. Powell in his individual capacity,

using indicia of personal identity, such as Mr. Powell’s own signature, coupled with a personal

message that uses language like “For me” and “we.” This use, which is false and misleads the




                                                19
Case 2:13-cv-00160-NT Document 66 Filed 09/10/13 Page 21 of 23                    PageID #: 1115



public, is conduct that the Lanham Trademark Act protects consumers against rather than

condones. See 15 U.S.C. § 1125(a)(1).

IV.    The Public Interest Will Not Be Adversely Affected
       If The Requested Injunction Is Granted.

       Entry of the requested injunction will not adversely affect the public interest. To the

contrary, the requested injunction will advance the public interest because it will remove a false

endorsement from the market and prevent customers from mistakenly believing that Mr. Powell

is personally endorsing and participating in the design of Counterdefendants’ products.

                                        CONCLUSION

       Wherefore, Mr. Powell respectfully requests that this Court grant his Motion for

Preliminary Injunction against Counterdefendants. Specifically, Mr. Powell requests an order:

       a.      enjoining JL Powell LLC and JL Powell Clothing LLC, and their agents, servants,

employees, attorneys, successors, assigns and consignees, and all those acting under their

authority or in concert or privity with them, from making any further mailing of their sales

catalog, known as “J.L. Powell,” unless and until they first ensure that the following changes are

made: removal of the name, endorsement and/or signature, of “Josh Powell,” “J. Powell,”

“Joshua L. Powell,” and in particular removal of the signature “J.L. Powell” that appears on page

3 of the Fall 2013 J.L. Powell catalog, and if there are printed copies that cannot be modified,

then such copies shall be quarantined or destroyed; and

       b.      enjoining JL Powell LLC and JL Powell Clothing LLC from using the name,

endorsement and/or signature of “Josh Powell,” “J. Powell,” or any other iteration of Mr.

Powell’s name to identify Mr. Powell as an individual spokesperson or a person speaking on

behalf of the Plaintiffs, and shall refrain from falsely attributing content to Mr. Powell, whether

in paper or digital on-line versions, or on their commercial website at www.jlpowell.com.


                                                20
Case 2:13-cv-00160-NT Document 66 Filed 09/10/13 Page 22 of 23         PageID #: 1116



Dated: September 10, 2013                Respectfully submitted,

                                         Joshua L. Powell


By:           /s/ Joseph Collins         By:           /s/ Benjamin Piper
             One of his attorneys                     One of his attorneys

Joseph Collins (admitted pro hac vice)   Timothy Bryant
Gina Durham (admitted pro hac vice)      Benjamin Piper
DLA Piper LLP (US)                       Preti, Flaherty, Beliveau & Pachios LLP
203 North La Salle Street, Suite 1900    One City Center
Chicago, IL 60601                        Portland, ME 04101
312.368.4000                             207.791.3000
joseph.collins@dlapiper.com              tbryant@preti.com
gina.durham@dlapiper.com                 bpiper@preti.com
Case 2:13-cv-00160-NT Document 66 Filed 09/10/13 Page 23 of 23                       PageID #: 1117



                                  CERTIFICATE OF SERVICE

       I, Joseph Collins, attorney for Defendant Joshua L. Powell, individually and d/b/a The

Field Outfitting Company, hereby certify that on the above date, I electronically filed the

foregoing document in this matter with the Clerk of Court using the CM/ECF system which will

send notification of such filing electronically to the registered participants:

Nicole L. Bradick
Richard L. O’Meara
Thomas C. Newman
Murray Plumb & Murray
75 Pearl Street, P.O. Box 9785
Portland, ME 04104-5085
207-773-5651
nbradick@mpmlaw.com
romeara@mpmlaw.com
tnewman@mpmlaw.com

Attorneys for Plaintiff JL Powell
Clothing LLC

                                                                    /s/ Joseph Collins
                                                                      Joseph Collins
